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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )      8:11CB7
                                            )      Violation Number 2304836 NE14
                     vs.                    )
                                            )      ORDER
SCOTT C. FINCH,                             )
                                            )
                     Defendant.             )


       On the motion of the United States Attorney’s Office, the above-referenced matter is

hereby dismissed.

       ORDERED this 7th day of September, 2011.


                                                   BY THE COURT:


                                                   s/Thomas D. Thalken
                                                   U. S. MAGISTRATE JUDGE
